                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


TENNESSEE STATE CONFERENCE OF              )
THE N.A.A.C.P., DEMOCRACY                  )
NASHVILLE-DEMOCRATIC                       )
COMMUNITIES, THE EQUITY                    )
ALLIANCE, and THE ANDREW                   )
GOODMAN FOUNDATION,                        )
                                           )
                                           )
Plaintiffs,                                )
                                           )
v.                                         )          Case No. 3:19-cv-00365
                                           )          Judge Aleta A. Trauger
TRE HARGETT, in his official capacity      )
as Secretary of State of Tennessee,        )
MARK GOINS, in his official capacity       )
as Coordinator of Elections for the State  )
of Tennessee, the STATE ELECTION           )
COMMISSION, and DONNA BARRETT, )
JUDY BLACKBURN, GREG DUCKETT, )
MIKE MCDONALD, JIMMY WALLACE, )
TOM WHEELER, and KENT YOUNCE,              )
in their official capacities as members of )
the State Election Commission,             )
                                           )
Defendants.                                )

                                       ORDER

      For the reasons explained in the accompanying Memorandum, the defendants’ Motion to

Dismiss (Docket No. 21) is hereby DENIED.

      It is so ORDERED.



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                                                      ALETA A. TRAUGER
                                                      United States District Judge




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